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 4   Attorney for MIHRAN MELKONYAN
 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                            EASTERN DISTRICT OF CALIFORNIA
 7

 8
                                                     )   Case No.: 2:14-cr-00083 GEB
     UNITED STATES OF AMERICA,                       )
 9
                                                     )
                   Plaintiff,                        )   REQUEST TO SEAL DEFENDANT
10
                                                     )   MELKONYAN’S MEDICAL
           vs.                                       )   DOCUMENTS AND ORDER
11
                                                     )
12
                                                     )   Date: April 19, 2016
                                                     )   Time: 2:00 P.M.
     MIRHAN MELKONYAN,                               )   Judge: Hon. Edmund F. Brennan
13
                                                     )
                   Defendant
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15
           Mr. Melkonyan has moved the court for a bail review on April 19, at which time
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     Mr. Melkonyan will present new information regarding his health and regarding property
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18   which could be posted to secure his release. The evidence of his health consists of
19
     medical records provided by the Sacramento County Main Jail. These medical records
20
     were received by Mr. Melkonyan’s attorney on April 8 and additional medical records
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22   were received on April 14. Mr. Melkonyan respectfully requests that the court place
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     these medical records under seal, as the records contain confidential medical information
24
     and confidential identifying information.
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     Request to Seal Documents; and Order                     US v. Melkonyan, 14-083 GEB
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 1
        I.       LAW AND ARGUMENT

 2            Under Local Rule 141 and Federal Rule of Criminal Procedure 49.1, the court may
 3
     order specific documents sealed, upon request by any party.
 4
              The right to privacy in a person’s medical records is protected under 45 CFR 160
 5

 6   and 164 subparts (a) and (e).       The documents in this case contain private health
 7
     information, in that the documents are a complete record of Mr. Melkonyan’s health
 8
     complaints and treatments since his incarceration at the Sacramento County Main Jail.
 9

10   Therefore, Mr. Melkonyan respectfully requests that the court place his private medical
11
     records under seal.
12

13
     DATED: April 18, 2016
14

15                                             _/s/ Alan J. Donato___________,
16                                             ALAN J. DONATO,
                                               Attorney for Mihran Melkonyan
17

18           So Ordered.

19   DATED: April 18, 2016.
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     Request to Seal Documents; and Order                US v. Melkonyan, 14-083 GEB
     Case No. 14-cr-00083 GEB                 2
